                                                 IT IS HEREBY ADJUDGED
                                                 and DECREED this is SO
                                                 ORDERED.
                                                 The party obtaining this order is responsible for
                                                 noticing it pursuant to Local Rule 9022-1.
 1                                               Dated: October 12, 2010
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 3
                                                            ________________________________________
 4                                                                    RANDOLPH J. HAINES
                                                                      U.S. Bankruptcy Judge
 5                                               ________________________________________

 6

 7

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 9
                          IN THE UNITED STATES BANKRUPTCY COURT
10
                                      THE DISTRICT OF ARIZONA
11

12   In re:                                                    Chapter 7 Proceedings

13   GREGG SETH REICHMAN,                                      Case No. 0:10-bk-24374-RJH

14                         Debtor.                             ORDER GRANTING MOTION TO
                                                               COMPEL ABANDONMENT OF
15                                                             PROPERTY

16

17            Upon the Motion to Compel Abandonment of Property filed by Gregg S. Reichman, Debtor,
18   and no opposition having been filed and good cause appearing therefore,
19            IT IS HEREBY ORDERED that the bankruptcy estate’s interest in the 1999 32-foot
20   Douglas Skater and Douglas Skater triple axle trailer are deemed abandoned.
21            DATED AND SIGNED ABOVE
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27

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Case2751278.1
     0:10-bk-24374-EPB        Doc 26 Filed 10/12/10 Entered 10/12/10 11:02:13                        Desc
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